
704 S.E.2d 275 (2010)
STATE of North Carolina
v.
Tyus Sentell HEADEN.
No. 393P10.
Supreme Court of North Carolina.
November 4, 2010.
Milton G. Widenhouse, Jr., for Tyus Sentell Headen.
Mary Carla Hollis, for State of N.C.
Prior report: ___ N.C.App. ___, 697 S.E.2d 407.

ORDER
Upon consideration of the petition filed on the 7th of September 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
